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CRIMINAL PROCEEDINGS — _ U.S. DISTRICT COURT, EASTERN DISTRICT OF VA, RICHMOND DIVISION
JUDGE: Gibney DOCKET NO. 3:20cr69
REPORTER: G. Halasz, OCR DATE: 7/21/20
UNITED STATES OF AMERICA COUNSEL
Vv.
1. HENRY ALEXANDER McLARTY, SR. 1, Benjamin Hatch, Thomas Bever
APPEARANCES: GOVERNMENT Jessica Aber, AUSA )
held via DEFENDANT WITH COUNSEL (”) DEFENDANT WITHOUT COUNSEL ( )
. . ar, DEFENDANT NOT PRESENT ( ) WAIVER OF APPEARANCE FILED ( )
2 00V". GOV IM Persemn
BAIL STATUS: DEFENDANT ON BOND ( 4) DEFENDANT INCARCERATED( ) BONDNOTSET( )
TYPE OF ARRAIGNMENT( ) REARRAIGNMENT/GUILTY PLEA( )} MOTIONS (_)
PROCEEDINGS: OTHER: ( )
PRELIMINARY WAIVER OF INDICTMENT EXECUTED, FILED ( A
PROCEEDINGS: CRIMINAL INFORMATION FILED (_ )
OTHER( )
ARRAIGNMENT PROCEEDINGS:
DEFENDANT(S) WFA FA GUILTY NG JURY WAIVED 30-DAY WAIVER
1
2
3
GUILTY PLEA DEFENDANT WITHDREW PLEA OF NG AS TO COUNT(S) a)
PROCEEDINGS: DEFENDANT REARRAIGNED ON COUNTS) (  )
PLEA BARGAIN AGREEMENT FILED (% )
STATEMENT OF FACTS FILED ( USED AS SUMMARY ( 4

DEFENDANT ENTERED PLEAS) OF GUILTY AS TO COUNT(S) __ | ( )
COURT ACCEPTED PLEA ( “) GOVERNMENT SUMMARIZED EVIDENCE (__)
JUDGMENT: DEFENDANT GUILTY AS CHARGED IN COUNT(S) [ ( )
PRESENTENCE REPORT ORDERED(V) P.S.L WAIVED(  )

SENTENCING GUIDELINE ORDER ENTERED (,“4)

BOND HEARING DEFENDANT CONTINUED ON PRESENT BOND A DEFT REMANDED (__ )
PROCEEDINGS: DEFENDANT PLACED ON PR BOND IN AMOUNT OF $ ( )
BENCH WARRANT TOISSUE( ) | MOTIONDENIED(_)

OTHER PROCEEDINGS:

 

 

 

 

 

CASECONTINUED TO: —\ lana AD _.20Ql at 10:00 frm. For Sentencing

CASE SET: BEGAN: ENDED: TIME IN COURT:

[00am = 20am IA: Ol” pm Hle ming.

 
